108 F.3d 1375
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Gregory A. WILLIAMS, Plaintiff-Appellant,v.E. Montgomery TUCKER, Chairman, Virginia Parole Board,Defendant-Appellee.
    No. 96-7127.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 27, 1997.Decided March 11, 1997.
    
      Gregory A. Williams, Appellant Pro Se.
      Before MURNAGHAN, NIEMEYER, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing his 42 U.S.C. § 1983 (1994) complaint without prejudice to his right to file a petition for a writ of habeas corpus.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Williams v. Tucker, No. CA-96-453-2 (E.D.Va. July 2, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    